Case 2:23-cv-01165-KM-LDW Document 6-2 Filed 04/30/23 Page 1 of 2 PageID: 111




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


  TREY GREENE, individually and on behalf of Case No.: 2:23-cv-01165
  all others similarly situated,
                                 Plaintiff,
          v.

  ZAC PRINCE, FLORI MARQUEZ, TONY
  LAURA, JENNIFER HILL and GEMINI
  TRADING, LLC,

                                   Defendants.

        DECLARATION OF LEE SQUITIERI IN SUPPORT OF THE MOTION
       PURSUANT TO PSLRA 15 U.S.C. §78u-4(a)(3)(B) FOR APPOINTMENT
    OF LEAD PLAINTIFF AND APPROVAL OF SELECTION OF LEAD COUNSEL

       I, Lee Squitieri, declare as follows:

     1.        I am a member in good standing of the bar of the State of New York and am admitted

to practice before this Court. I am a partner at the law firm of Squitieri & Fearon, LLP. We are

counsel for the Plaintiff. I submit this declaration in support of the motion for appointment as Lead

Plaintiff pursuant to the Private Securities Litigation Reform Act of 1995 (the “PSLRA”), 15 U.S.C.

§ 78u-4(a)(3)(B), and approval of their selection of Squitieri & Fearon, LLP and Moore Kuehn

PLLC as Lead Counsel for the class.

     2.        Attached are true and correct copies of the following exhibits:

               Exhibit A:     PSLRA Notice;

               Exhibit B:     Verifications of Plaintiff and Movant with Statement
                              of Losses;

               Exhibit C:     Firm Resume of Squitieri & Fearon, LLP;

               Exhibit D:     Firm Resume of Moore Kuehn PLLC;

               Exhibit E:     Proposed Order
Case 2:23-cv-01165-KM-LDW Document 6-2 Filed 04/30/23 Page 2 of 2 PageID: 112




      I declare, under penalty of perjury, that the foregoing is true and correct to the best of my

knowledge.

       Executed this 30th day of April, 2023.

                                              /s/ Lee Squitieri
                                              Lee Squitieri




                                                2
